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                    8   Attorneys for Defendant
                        COINBASE, INC.
                    9

                   10                                 UNITED STATES DISTRICT COURT

                   11                             NORTHERN DISTRICT OF CALIFORNIA

                   12

                   13   DAVID SUSKI, Individually and On Behalf of    Case No. 3:21-cv-04539-SK
                        All Others Similarly Situated,
                   14                                                 NOTICE OF APPEAL
                                         Plaintiff,
                   15
                               v.
                   16
                        COINBASE, INC. and MARDEN-KANE,
                   17   INC.,

                   18                    Defendants.

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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                                NOTICE OF APPEAL
                                                                                         CASE NO. 3:21-CV-04539-SK
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                    1          TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:

                    2   NOTICE IS HEREBY GIVEN that Defendant Coinbase, Inc. hereby appeals to the United States

                    3   Court of Appeals for the Ninth Circuit from the order denying Coinbase’s motion to compel

                    4   arbitration (ECF No. 53). The fees have been paid for appeal. This is not a cross-appeal and there

                    5   has been no previous appeal in this matter. The order is immediately appealable under the Federal

                    6   Arbitration Act, 9 U.S.C. § 16(a)(1)(B).

                    7   Dated: February 9, 2022                             COOLEY LLP
                    8

                    9                                                       By: /s/ Michael G. Rhodes
                                                                                Michael G. Rhodes
                   10
                                                                            Attorneys for Defendant
                   11                                                       COINBASE, INC.
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                    1                                  Rule 3.2 Representation Statement

                    2          The undersigned represents Coinbase, Inc., defendant and appellant in this matter, and no

                    3   other party. The following is a list of all parties to the action and the information regarding their

                    4   counsel. See FRAP 12(b); Ninth Circuit Rule 3-2(b).

                    5   Defendant Coinbase, Inc.:

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                    1   Dated: February 9, 2022                   COOLEY LLP

                    2

                    3                                             By: /s/ Michael G. Rhodes
                                                                      Michael G. Rhodes
                    4
                                                                  Attorneys for Defendant
                    5                                             COINBASE, INC.
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